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      EXWH[SURSULDWHGE\3ODLQWLII¶VXQFOHE\ZD\RID-RLQW7HQDQF\

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      VXHGEXW127EHLQJDEOHWRDSSHDO127KDYLQJDFFHVVWRDMXU\

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      UHTXHVWWRDSSHDODQGVLPSO\VWDWHGDSSURYDOZRXOGEHQHHGHG

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                                       (Exhibit B)
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                            Exhibit C, page 3
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                           Exhibit C, page 14
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                        Exhibit C, page 15
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                            (Exhibit D)
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                            (Exhibit E, page 1)
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                              (Exhibit E, page 2)
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                            (Exhibit E, page 3)
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                            (Exhibit E, page 4)
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                               (Exhibit E, page 5)
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                              (Exhibit E, page 6)
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                               (Exhibit E, page 7)
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                              (Exhibit F)
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                            (Exhibit G, page 1)
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                                 (Exhibit G, page 2)
